   Case 3:19-mj-00224-MRC Document 8 Filed 03/29/22 Page 1 of 2 PageID# 58




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION

UNITED STATES OF AMERICA,           )
                                    )
                                    )
v.                                  )
                                    )                      Case No.: 3:19-mj-00224-MRC
                                    )
OLABANJI O. EGBINOLA.               )
                                    )
      Defendant.                    )
____________________________________)


    NOTICE OF APPEARANCE FOR DEFENDANT, MR. OLABANJI EGBINOLA

       COMES NOW, Benjamin A. Beliles, Esquire, of the law firm Beliles & Associates, and

gives notice of his appearance in the above-captioned case on behalf of the Defendant, Olabanji

O. Egbinola.


Dated: March 29, 2022.                      Respectfully Submitted,


                                                    /s/ Benjamin A. Beliles
                                            Benjamin A. Beliles, Esquire (VSB #72723)
                                            BELILES & ASSOCIATES, PLLC
                                            1108 East Main Street, Suite 1002
                                            Richmond, Virginia 23219
                                            Tel: (804) 223-0297
                                            Fax: (804) 414-7758
                                            bbbeliles@benwinsagain.com

                                            Counsel for Defendant
   Case 3:19-mj-00224-MRC Document 8 Filed 03/29/22 Page 2 of 2 PageID# 59




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of March, 2022, a copy of the foregoing was filed via
CM/ECF, which will send a notification of such filing to all counsel of record.




                                                     /s/ Benjamin A. Beliles
                                             Benjamin A. Beliles, Esquire (VSB #72723)
                                             BELILES & ASSOCIATES, PLLC
                                             1108 East Main Street, Suite 1002
                                             Richmond, Virginia 23219
                                             Tel: (804) 223-0297
                                             Fax: (804) 414-7758
                                             benbeliles@gmail.com




                                                 2
